                       Case 5:13-cr-40064-JAR Document 172 Filed 03/05/14 Page 1 of 4
AO 245B      (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
             Sheet 1



                                           United States District Court
                                                            District of Kansas
           UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                        v.
                  Govind Paneru                                               Case Number:   5:13CR40064 - 008
                                                                              USM Number:    23510-031
                                                                              Defendant’s Attorney:

THE DEFENDANT:

‫܈‬          pleaded guilty to count(s): 1 of a 1-count Information.
‫܆‬          pleaded nolo contendere to count(s)       which was accepted by the court.
‫܆‬          was found guilty on count(s)      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

          Title & Section                                      Nature of Offense                            Offense Ended       Count

8 U.S.C. § 1325(a)(3)                  MISREPRESENTATION AND CONCEALMENT OF                                   12/05/2008          1
                                       FACTS, a Class B Misdemeanor

        The defendant is sentenced as provided in pages 1 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

‫܆‬          The defendant has been found not guilty on count(s)          .

‫܆‬          Count(s)      is dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of material changes in economic
circumstances.

                                                                                                        03/04/2014
                                                                                              Date of Imposition of Judgment


                                                                                    s/K. Gary Sebelius
                                                                                                      Signature of Judge


                                                                                   Honorable K. Gary Sebelius, U.S. Magistrate Judge
                                                                                                Name & Title of Judge


                                                                                              3/05/2014
                                                                                                            Date
                      Case 5:13-cr-40064-JAR Document 172 Filed 03/05/14 Page 2 of 4
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 2 – Imprisonment
                                                                                                                       Judgment – Page 2 of 4
DEFENDANT:   Govind Paneru
CASE NUMBER: 5:13CR40064 - 008

                                                            IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
0 months.

          The Court further orders the defendant shall voluntarily leave the country within 45 days, and he shall not return to the
          United States for at least a period of 6 months.
‫܆‬         The Court makes the following recommendations to the Bureau of Prisons:


‫܆‬         The defendant is remanded to the custody of the United States Marshal.


‫܆‬         The defendant shall surrender to the United States Marshal for this district.

          ‫ ܆‬at      on     .

          ‫ ܆‬as notified by the United States Marshal.


‫܆‬         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ‫ ܆‬before       on     .

          ‫ ܆‬as notified by the United States Marshal.

          ‫ ܆‬as notified by the Probation or Pretrial Services Officer.


                                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                   to

at                                                                       , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                                   By
                                                                                                        Deputy U.S. Marshal
                       Case 5:13-cr-40064-JAR Document 172 Filed 03/05/14 Page 3 of 4
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 5 – Criminal Monetary Penalties
                                                                                                                          Judgment – Page 3 of 4
DEFENDANT:   Govind Paneru
CASE NUMBER: 5:13CR40064 - 008

                                          CRIMINAL MONETARY PENALTIES
          The defendant shall pay the total criminal monetary penalties under the Schedule of Payments set forth in this Judgment.
                                                  Assessment                            Fine                            Restitution

             Totals:                                 $10.00                            None                                N/A


‫܆‬         The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such determination.

‫܆‬         The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

                   Name of Payee                                    Total Loss*           Restitution Ordered          Priority or Percentage




                        Totals:                                                 $                       $

‫܆‬         Restitution amount ordered pursuant to plea agreement $           .

‫܆‬         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth
          in this Judgment may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܆‬         The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

          ‫ ܆‬the interest requirement is waived for the ‫ ܆‬fine and/or ‫ ܆‬restitution.

          ‫ ܆‬the interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                      Case 5:13-cr-40064-JAR Document 172 Filed 03/05/14 Page 4 of 4
AO 245B     (Rev. 09/11 - D/KS 08/12) Judgment in a Criminal Case
            Sheet 6 – Schedule of Payments
                                                                                                                          Judgment – Page 4 of 4
DEFENDANT:   Govind Paneru
CASE NUMBER: 5:13CR40064 - 008

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A      ‫܆‬       Lump sum payment of $ due immediately, balance due
               ‫ ܆‬not later than , or
               ‫ ܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or

B      ‫܈‬       Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܈‬F below); or

C      ‫܆‬       Payment in monthly installments of not less than 5% of the defendant's monthly gross household income over a period
               of   years to commence      days after the date of this judgment; or

D      ‫܆‬       Payment of not less than 10% of the funds deposited each month into the inmate's trust fund account and monthly
               installments of not less than 5% of the defendant's monthly gross household income over a period of     years, to
               commence       days after release from imprisonment to a term of supervision; or

E      ‫܆‬       Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

F      ‫܈‬       Special instructions regarding the payment of criminal monetary penalties:

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Payments should be made to Clerk, U.S. District Court, U.S. Courthouse - Room 259, 500 State Avenue, Kansas City, Kansas 66101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount Joint and Several Amount and
corresponding payee, if appropriate.

          Case Number                                                                                                Joint and Several
 (Including Defendant Number)                                       Defendant Name                                       Amount


‫܆‬         The defendant shall pay the cost of prosecution.

‫܆‬         The defendant shall pay the following court cost(s):

‫܆‬         The defendant shall forfeit the defendant's interest in the following property to the United States. Payments against any
          money judgment ordered as part of a forfeiture order should be made payable to the United States of America, c/o
          United States Attorney, Attn: Asset Forfeiture Unit, 1200 Epic Center, 301 N. Main, Wichita, Kansas 67202.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
